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 5
 6                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 7
 8
     UNITED STATES OF AMERICA,
 9                                               NO: CR-11-12-RMP-1
10                            Plaintiff,             CR-11-12-RMP-2
           v.
11
12   WHEELER JOSEPH PAAVOLA and                  ORDER MEMORIALIZING
     WILLAIM TROY TOMBLIN,                       COURT’S RULINGS AND PRETRIAL
13
                                                 ORDER
14                            Defendants.
15
16         A pretrial hearing was held in this matter on May 27, 2011. Defendant
17
     Paavola, who is in custody, was present and represented by Assistant Federal
18
19   Defender Rick L. Hoffman. Defendant Tomblin, who is not in custody, was present
20
     and represented by CJA Attorney Christian J. Phelps. The Government was
21
22   represented by Assistant United States Attorney Russell Smoot, who was standing in
23   for AUSA Matthew F. Duggan.
24
           Before the Court is Defendant Paavola’s Motion to Continue Trial (ECF No.
25
26   67) and Defendant Tomblin’s Motion to Continue Pretrial and Statement of No
27
     Objection (ECF No. 72). Defendants move for a continuance in order to allow
28

     ORDER MEMORIALIZING COURT’S RULING ORDER MEMORIALIZING
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 1   additional time to investigate this case. The Government does not object to a

 2   continuance in this matter. Because any motion filed by one Defendant is deemed to
 3
     be applicable to all Defendants, unless otherwise noted, the Court applies its findings
 4
 5   to both Defendants.
 6
           The Court finds that the ends of justice served by the granting of a
 7
 8   continuance of the trial in this matter outweigh the best interests of the public and
 9   the Defendants in a speedy trial. A trial date of July 6, 2011, would deprive
10
     defense counsel of adequate time to obtain and review discovery and provide
11
12   effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
13
     § 3161(h)(7).
14
15         The Court has reviewed the file and motions, has heard from counsel, and is
16
     fully informed. This Order is entered to memorialize and supplement the oral
17
18   rulings of the Court. Accordingly,

19         IT IS HEREBY ORDERED:
20
           1. The following motions are DENIED WITH LEAVE TO RENEW:
21
22   Defendant Paavola’s Motion for Renewal of Motion for Disclosure (ECF No. 51)
23
     and Motion for Renewal of Motion to Compel (ECF No. 53).
24
25         2. The Court reserves ruling on Defendant Paavola’s Motion to Sever (ECF
26   No. 55).
27
28

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 1         3. Defendants’ Motions to Continue Trial (ECF No. 67, 72) are

 2   GRANTED.
 3
           4. The original trial date of July 6, 2011, is STRICKEN and RESET to
 4
 5   August 22, 2011, at 9:00 a.m. in Spokane, Washington.
 6
           5. A pretrial conference is set for August 8, 2011, at 1:30 p.m. with a final
 7
 8   pretrial conference on August 22, 2011, at 8:30 a.m. All hearings shall take place
 9   in Spokane, Washington.
10
           6. Discovery motions and Motions in limine shall be filed and served on or
11
12   before July 18, 2011.
13
           7. Responses to motions shall be filed by July 25, 2011.
14
15         8. Replies shall be filed by August 1, 2011.
16
           9. Trial briefs, requested voir dire, and a set of proposed joint jury
17
18   instructions shall be filed and served on or before August 12, 2011.

19         Any motion filed by either Defendant in this matter, which is not limited by
20
     its subject matter to the Defendant filing the motion, shall also be considered to be
21
22   a motion filed on behalf of the co-Defendant. If the co-Defendant does not wish to
23
     join a particular motion, he or she shall file a notice to that effect. This will avoid
24
25   the necessity of each Defendant filing duplicate motions.
26
27
28

     ORDER MEMORIALIZING COURT’S RULING ORDER MEMORIALIZING
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 1         Jury Instructions should address only issues that are unique to this case and

 2   shall include instructions regarding the elements of each claim, any necessary
 3
     definitions, and a proposed verdict form.
 4
 5         Parties shall supply the Court electronically with Joint Proposed Jury
 6
     Instructions in Word or WordPerfect format and shall include:
 7
 8         (a)    The instructions on which the parties agree; and
 9         (b)    Copies of instructions that are disputed (i.e., a copy of each party’s
10
     proposed version of an instruction upon which they do not agree).
11
12         All jury instructions from the most current edition of the Ninth Circuit
13
     Manual of Model Jury Instructions may be proposed by number. The submission
14
15   of the Joint Proposed Jury Instructions will satisfy the requirements of LR 51.1.(c).
16
           Each party shall address any objections they have to instructions proposed
17
18   by any other party in a memorandum by August 19, 2011. The parties shall

19   identify the specific portion of any proposed instruction to which they object and
20
     shall elaborate the basis for the objection. Objections asserting that an instruction
21
22   sets forth an incorrect statement of law shall describe the legal authority that
23
     supports the objection. Failure to file an objection to any instruction may be
24
25   construed as consent to the adoption of an instruction proposed by another party.
26
27
28

     ORDER MEMORIALIZING COURT’S RULING ORDER MEMORIALIZING
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 1         10. A Waiver of Speedy Trial Rights was signed by each Defendant. All

 2   time from the trial date of July 6, 2011, to the new trial date of August 22, 2011, is
 3
     EXCLUDED for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7).
 4
 5         11. All time from the filing of Defendants’ Motion to Continue on May 16,
 6
     2011, to the date of the hearing on May 27, 2011 is EXCLUDED for speedy trial
 7
 8   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
 9         12. The parties are requested to submit courtesy copies of witness and
10
     exhibit lists to the Court no later than 12:00 noon the Thursday before trial
11
12   commences.
13
           The District Court Executive is directed to file this Order and provide copies
14
15   to counsel.
16
           DATED this 31st day of May, 2011.
17
18
19                                                s/ Rosanna Malouf Peterson
20                                           ROSANNA MALOUF PETERSON
                                            Chief United States District Court Judge
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     ORDER MEMORIALIZING COURT’S RULING ORDER MEMORIALIZING
     COURT’S RULINGS AND PRETRIAL ORDER ~ 5
